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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division

  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
           v.                                   )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

                          DECLARATION OF ALLEN M. OWENS, JR.
                      IN SUPPORT OF SEALING CERTAIN DOCUMENTS
           I, Allen M. Owens, Jr., pursuant to 28 U.S.C. § 1746 hereby declares as follows:

           1.     I am over 21 years old and am competent to testify about the matters in this

  Declaration based on my personal knowledge.

           2.     I am Director of Marketing at the Navy Recruiting Command for the United

  States Navy (“Navy”) and submit this Declaration in support of sealing Ex. 099, 144, and 155

  used by Google in support of its Motion for Summary Judgment.

           3.     The exhibit beginning with Bates number NAVY-ADS-00000373978 is a true

  and correct copy of digital media bills and billing memos received from the Navy’s digital media

  contractor.

           4.     The exhibit beginning with Bates number NAVY-ADS-0000250171 is a true and

  correct copy of digital media bills, detailed backups, subcontractor invoices, portions of the Navy

  Tactical Media Reco slides, and correspondence related to the Navy’s quarterly paid media

  plans.




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         5.      The exhibit beginning with Bates number NAVY-ADS-0000019114 is a true and

  correct copy of an excerpt of a Teams meeting confirmation and a portion of the Navy’s June-

  July Tactical Recommendation presentation.

         6.      Contact information for Navy staff included in all three documents cited in these

  exhibits is not widely published or available to the general public as a matter of course and

  making that available on the public docket threatens to disrupt orderly and efficient agency

  operations.

         7.      Contractor confidential financial information, including the contractor’s ABA

  routing number, account information, swift code, lockbox and other financial information has

  been redacted. This financial information is considered proprietary and confidential information

  that is protected from disclosure, is not widely published or available to the general public as a

  matter of course and making that information available on the public docket would compromise

  the willingness of future contractors to do business with the government because of the financial

  risk that disclosure of that information causes for the contractor.

         8.      Additional redactions have been applied to this exhibit to protect billing

  information net amounts that could collectively constitute proprietary and confidential

  information relative to the media contractor’s purchases of digital media engagement. In

  developing its recommended strategies to address Navy requirements for media purchases, the

  agency identifies recommended partners, timing and amount given the Navy’s available funding

  for the media purchase. This information should be redacted as this information could be reverse

  engineered to uncover the contractor’s strategy for allocation of funding and selection of media

  placement that is considered proprietary to the government. If disclosed, the discount available

  to the contractor, the rate obtained by the contractor per impression, or any other information that



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  could disclose the contractor’s subcontracting relationships could adversely impact the Navy’s

  ability to evaluate contractors in future procurements. This disclosure could adversely impact

  the Government’s ability to independently evaluate offeror’s competency, thoroughness,

  capability and overall value per metric during the technical and/or pricing evaluation of any

  follow-on requirement for this or similar services.

         9.      The exhibits discussed above were made and kept in the ordinary course of the

  Navy’s business and making and keeping these documents was a regular practice of the Navy.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on 13

  June 2024.



                                                Signed: _________________________
                                                Allen M. Owens, Jr.
                                                Director of Marketing, Navy Recruiting Command




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